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                                     UNITED STATES DISTRICT COURT
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                                    CENTRAL DISTRICT OF CALIFORNIA
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  12   T.P.; et al.,                                      )   CASE NO. CV 15-5346-R
  13                                                      )
                               Plaintiffs,                )   ORDER GRANTING DEFENDANT’S
  14                                                      )   MOTIONS FOR SUMMARY JUDGMENT
               v.                                         )   ON THE CLAIMS OF (1) PLAINTIFFS
  15                                                      )   C.M.H. AND H.A.H. AND (2)
       WALT DISNEY PARKS AND RESORTS                      )   PLAINTIFFS J.A.S. AND J.F.S.
  16   U.S., INC.,                                        )
  17                                                      )
                               Defendant.                 )
  18                                                      )

  19           Before the Court are Defendant’s Motions for Summary Judgment on the claims of (1)

  20   Plaintiffs C.M.H. and H.A.H. and (2) Plaintiffs J.A.S. and J.F.S., each filed on April 8, 2019.

  21   (Dkt. Nos. 304, 306). Having been thoroughly briefed by the parties, this Court took the matters

  22   under submission on April 26, 2019.

  23           Each of the Plaintiffs brought statutory claims under the Americans with Disabilities Act

  24   (“ADA”) and California’s Unruh Civil Rights Act (“Unruh Act”), alleging that Defendant Walt

  25   Disney Parks and Resorts U.S., Inc.’s (“Defendant”) disability accommodation program, the

  26   Disney Disability Access Service (“DAS”), fails to sufficiently accommodate Plaintiffs, who

  27   suffer from cognitive disabilities. Plaintiffs also brought related common law claims for negligent

  28   infliction of emotional distress, intentional infliction of emotional distress, and breach of contract.
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   1          Defendant seeks summary judgment on all claims brought by Plaintiffs C.M.H., H.A.H.,

   2   J.A.S., and J.F.S. J.A.S. and J.F.S. have not offered a brief in opposition, nor have they requested

   3   an extension of time to file one. C.M.H. and H.A.H. filed a sealed Opposition with the Court on

   4   May 15, 2019.

   5          Plaintiff C.M.H. is 28 years old and is disabled by severe autism. Despite having the

   6   chronological age of a man, C.M.H. has the mental (intellectual, emotional, etc.) age of no more

   7   than a ten-year-old and the comprehension level of no more than a seven-year-old. His mother,

   8   H.A.H., and his father have been the primary caregivers for C.M.H. his entire life. C.M.H.’s

   9   disability makes him unable to understand the concept of time, causes him to have difficulty

  10   waiting and transitioning between activities, and makes him prone to having “meltdowns” due to

  11   the presence of large crowds, loud noises, lights, touching, and overstimulation. These difficulties

  12   are exacerbated in unfamiliar environments.

  13          Plaintiff J.A.S. was, at the time this action was filed, a minor generally in the care of his

  14   father, J.F.S. J.A.S. suffers from autism with characteristics of Attention Deficit Disorder. Like

  15   C.M.H., J.A.S. has difficulty waiting and understanding the concept of time. J.A.S. also has

  16   difficulty deviating from a routine. For example, when visiting Disney’s California Adventure, he

  17   always must ride four specific rides, in no particular order. So long as he is able to do so, “J.A.S.

  18   will have a pleasant Disney experience,” according to the Complaint. When forced to deviate

  19   from his routine, or in other exacerbating circumstances, J.A.S. experiences anxiety, stimming

  20   (which, according to the Complaint, is defined in part by “echolalia and running back and forth

  21   and running in between people in large crowds”), panic attacks, and other “maladaptive

  22   behaviors.”

  23          The DAS, which was introduced in October 2013, allows DAS cardholders to avoid

  24   physical lines and “virtually” wait for entry to attractions at Disneyland and Disney’s California

  25   Adventure parks in Anaheim, California. The electronic version of DAS has existed at Disney’s

  26   Anaheim parks since late-2014. DAS return times, which are the posted ride wait times minus ten

  27   minutes, are issued at kiosks or attractions located inside the parks. Guests are permitted to visit

  28   other attractions within the parks while they wait for their return times. DAS cardholders may


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   1   also typically gain immediate entry to attractions with posted wait times of less than 15 minutes.

   2   In addition to DAS, Guest Relations employees are available to help guests plan their itineraries,

   3   provide “re-admission passes” granting immediate entry to certain rides, or otherwise provide

   4   individualized assistance.

   5          Summary judgment is appropriate where there is no genuine issue of material fact and the

   6   moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a); Celotex Corp. v.

   7   Catrett, 477 U.S. 317 (1986). Rule 56 “mandates the entry of summary judgment, after adequate

   8   time for discovery and upon motion, against a party who fails to make a showing sufficient to

   9   establish the existence of an element essential to that party’s case, and on which that party will

  10   bear the burden of proof at trial.” Celotex, 477 U.S. at 322. To meet its burden of proof on a

  11   motion for summary judgment, “the moving party must either produce evidence negating an

  12   essential element of the nonmoving party’s claim or defense or show that the nonmoving party

  13   does not have enough evidence of an essential element to carry its ultimate burden of persuasion at

  14   trial.” Nissan Fire & Marine Ins. v. Fritz Cos., 210 F.3d 1099, 1102 (9th Cir. 2000). Once the

  15   moving party meets its initial burden of showing there is no genuine issue of material fact, the

  16   opposing party has the burden of producing competent evidence and cannot rely on mere

  17   allegations or denials in the pleadings. Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp.,

  18   475 U.S. 574, 585-86 (1986). “Where the record taken as a whole could not lead a rational trier of

  19   fact to find for the non-moving party, there is no genuine issue for trial.” Id. at 587.

  20   Americans with Disabilities Act and Unruh Act Claims

  21          Tittle III of the ADA provides that “[n]o individual shall be discriminated against on the

  22   basis of disability in the full and equal enjoyment of the goods, services, facilities, privileges,

  23   advantages, or accommodations of any place of public accommodation by any person who owns,

  24   leases (or leases to), or operates a place of public accommodation.” 42 U.S.C. § 12182(a). A

  25   prima facie case for violation of the ADA requires a plaintiff to show that: (1) he is disabled

  26   within the meaning of the ADA; (2) the defendant owned, leased, or operated a place of public

  27   accommodation; and (3) the defendant discriminated against the plaintiff within the meaning of

  28   the ADA. Roberts v. Royal Atlantic Corp., 542 F.3d 363, 368 (2d Cir. 2008). Defendant does not


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   1   dispute that Plaintiffs are disabled within the meaning of the ADA or that Defendant operates a

   2   place of public accommodation, specifically Disneyland and Disney’s California Adventure parks.

   3   Therefore, the sole issue is whether Defendant discriminated against Plaintiffs within the meaning

   4   of the ADA.

   5             ADA § 12182(b)(2)(A)(ii) defines discrimination to include “a failure to make reasonable

   6   modifications in policies, practices, or procedures, when such modifications are necessary to

   7   afford such goods, services, facilities, privileges, advantages, or accommodations to individuals

   8   with disabilities, unless the entity can demonstrate that making such modifications would

   9   fundamentally alter the nature of such goods, services, facilities, privileges, advantages, or

  10   accommodations.” 42 U.S.C. § 12182(b)(2)(A)(ii). As the Supreme Court noted in PGA Tour,

  11   Inc. v. Martin, § 12182(b)(2)(A)(ii) contemplates three inquiries: (1) whether the requested

  12   modification is “reasonable,” (2) whether it is “necessary” for the disabled individual, and (3)

  13   whether it would “fundamentally alter the nature of” the accommodation. 532 U.S. 661, 683 n.38

  14   (2001).

  15             Like other Plaintiffs in this action, C.M.H. and H.A.H. have brought to this Court’s

  16   attention the recent decision of the Eleventh Circuit Court of Appeals in A.L. v. Walt Disney Parks

  17   & Resorts U.S., Inc., 900 F.3d 1270 (11th Cir. 2018). That decision was based in large part on

  18   that court’s interpretation of what is a “necessary” modification under § 12182(b)(2)(A)(ii) of the

  19   ADA. The court cites to Ninth Circuit authority in Baughman v. Walt Disney World Co., where

  20   the Ninth Circuit Court of Appeals explained that “[p]ublic accommodations must start by

  21   considering how their facilities are used by nondisabled guests and then take reasonable steps to

  22   provide disabled guests with a like experience.” 685 F.3d 1131, 1135 (9th Cir. 2012) (emphasis

  23   added). Public accommodations must “provide disabled patrons an experience comparable to that

  24   of able-bodied patrons.” Id.

  25             This Court previously considered the “like experience” standard and found it beyond

  26   dispute that Plaintiffs’ proposed modifications are not “necessary” within the meaning of the

  27   ADA. The ADA requires that Defendant provide an equal experience, not that its disability

  28   accommodation program must provide Plaintiffs’ preferred or best possible experience. See, e.g.,


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   1   PGA Tour, 532 U.S. at 682 (suggesting that an accommodation allowing physically disabled PGA

   2   Tour participants to use a golf cart during events “might be reasonable but not necessary” where

   3   walking would be “uncomfortable or difficult, but not beyond their capacity”); Murphy v. Bridger

   4   Bowl, 150 F. App’x 661, 663 (9th Cir. 2005) (holding that allowing plaintiff with cognitive

   5   disability to be accompanied by a companion on a ski bike was not a necessary accommodation,

   6   even though it would improve her skiing experience).

   7            By providing a program which ensures that families of guests with cognitive disabilities

   8   can schedule ride times in advance, have near-immediate access to rides with wait times of less

   9   than 15 minutes, and never have to wait in a physical line, Defendant’s DAS program adequately

  10   provides its disabled guests with a “like experience” which is “comparable to that of able-bodied

  11   patrons.” In circumstances where the DAS program alone is insufficient, Defendant allows

  12   families of disabled patrons to seek individualized assistance from its Guest Relations office,

  13   which is given discretion to assist such guests by, among other things, providing them with an

  14   itinerary or giving them re-admission passes which allow the guests to avoid the stand-by line at

  15   specified attractions after a certain time of day. By giving Guest Relations employees discretion

  16   to tailor such assistance to the individualized needs of the guest and also to consider the conditions

  17   of the parks on any given day, Defendant is not only able to provide what is “necessary” for those

  18   guests to fully and equally enjoy the Disney parks, but also to account for what is reasonable

  19   under the circumstances and to avoid fundamentally altering the nature of the park experience.

  20   Because Plaintiffs cannot prove that their requested modifications1 are “necessary” within the

  21   meaning of the ADA, they cannot prevail on their claims under the ADA.

  22           Likewise, Plaintiffs cannot prevail on their claims under California’s Unruh Act, which, as

  23   Plaintiffs C.M.H. and H.A.H. acknowledge in their Opposition brief, are derivative of and

  24   coextensive with their ADA claim. See Cal. Civ. Code § 51(f). To prevail on their Unruh Act

  25   claims, Plaintiffs must prove (1) that they were denied full and equal accommodations by

  26   Defendant; (2) that a “substantial motivating reason” for Defendant’s conduct was a Plaintiff’s

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  28   1
        Plaintiffs essentially argue for a return to Defendant’s previous Guest Assistance Card system, which provided near-
       unfettered and immediate access to many disabled patrons and which was discontinued by Defendant due to what
       Defendant believed to be rampant abuse of the system.
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   1   disability or other actionable characteristic; (3) that Plaintiff was harmed; and (4) that Defendant’s

   2   conduct was a substantial factor in causing Plaintiff’s harm. Judicial Council of California Civil

   3   Jury Instructions 3060. For the reasons discussed above with respect to Plaintiffs’ ADA claims,

   4   Plaintiffs cannot prevail under the Unruh Act.

   5   Breach of Contract Claims

   6          All Plaintiffs assert claims for breach of contract. In order to prevail on a breach of

   7   contract claim, Plaintiffs must establish that: (1) the parties entered into a contract; (2) Disney

   8   breached the contract; and (3) Plaintiffs suffered damages as a result of Disney’s breach. See

   9   Richman v. Hartley, 169 Cal. Rptr. 3d 475, 478 (2014). Plaintiffs contend that a contractual

  10   relationship was formed between them and Defendant through their purchase of annual passes

  11   and/or admission tickets. Plaintiffs have not identified a particular contractual term that has

  12   allegedly been violated, and Defendant does not promise, at the time of purchase or otherwise, that

  13   all guests will receive their preferred, best possible, or even a satisfying experience. The Court

  14   declines to read such an implied contractual term into the parties’ business relationship.

  15   Accordingly, Plaintiffs cannot prevail on their breach of contract claims.

  16   Negligent and Intentional Infliction of Emotional Distress Claims

  17          Finally, Plaintiffs assert claims for negligent infliction of emotional distress (“NIED”) and

  18   intentional infliction of emotional distress (“IIED”). Under California law, NIED “is not an

  19   independent tort but the tort of negligence to which the traditional elements of duty, breach of

  20   duty, causation, and damages apply.” Wong v. Jing, 189 Cal. App. 4th 1354, 1377 (2010)

  21   (citations omitted). Plaintiffs’ NIED claims, particularly the elements of duty and breach, are

  22   derivative of their ADA claims. Accordingly, because Plaintiffs cannot establish any violation of

  23   the ADA, they cannot prove at least two of the essential elements of their NIED claims.

  24          “The elements of a cause of action for [IIED] are (i) outrageous conduct by defendant, (ii)

  25   an intention by defendant to cause, or reckless disregard of the probability of causing, emotional

  26   distress, (iii) severe emotional distress, and (iv) an actual and proximate causal link between the

  27   tortious conduct and the emotional distress.” Nally v. Grace Cmty. Church of the Valley, 763 P.2d

  28   948, 961 (Cal. 1988). Outrageous conduct is conduct that is “so extreme as to exceed all bounds


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   1   of that usually tolerated in a civilized community.” Id. Again, Plaintiffs’ IIED claims are

   2   derivative of their claims under the ADA. As discussed above, Plaintiffs cannot establish an ADA

   3   violation. Even if they could, Plaintiffs have presented no factual or legal support for a finding

   4   that such conduct is “outrageous.” Accordingly, Plaintiffs cannot possibly prevail on a claim for

   5   IIED.

   6           IT IS HEREBY ORDERED that Defendant’s Motions for Summary Judgment on the

   7   Claims of (1) Plaintiffs C.M.H. and H.A.H. and (2) Plaintiffs J.A.S. and J.F.S. are GRANTED.

   8   (Dkt. Nos. 304, 306).

   9   Dated: May 24, 2019.

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                                                     ___________________________________
  11
                                                               MANUEL L. REAL
  12                                                   UNITED STATES DISTRICT JUDGE

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